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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS. Civil/Criminal No: 21-CR-26

CHRISTOPHER MICHAEL ALBERTS

Nee Nee eee ee

 

NOTE FROM JURY

@ |: Regarding the definihyn of “Act of phigai cal
Viefonce" (Cp. (2) Wwidhh relerencey the tem "'Qssaut "
dO we was he de frutim oT aSsauL" En _p. 12?

v

 

 

Gz: AIsd, Teaaica ng “ack a phigaicad violence “Chl 8)
Whot is Tre dl€fnih on sh hod harm" |

What Ww Tre COMQR of hermn Mat could Sinbad
IA the deKtm J" baki Ly bavm. 2? (am bodily Wurm
indude something “chor Thom latily ¢ injury? (Pluss
Onin pL Thrre puta @))

 

 

 

 

 

Date: 4 | 14 l2z
Time: 2: [3 em

 

 

FOREPERSON
